

People v Lytch (2021 NY Slip Op 02258)





People v Lytch


2021 NY Slip Op 02258


Decided on April 13, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 13, 2021

Before: Kapnick, J.P., Kern, Singh, Scarpulla, JJ. 


Ind No. 1757/12 Appeal No. 13562 Case No. 2016-1367 

[*1]The People of The State of New York, Respondent, 
vTimothy S. Lytch, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Denise Fabiano of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Grace Phillips of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Troy K. Webber, J.), rendered December 05, 2014,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 13, 2021 
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








